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                           United States District Court
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 MOBILITY WORKX, LLC.             §
                                  §
 v.                               §                   Civil Action No. 4:17-cv-00872
                                  §                   Judge Mazzant
 CELLCO PARTNERSHIP D/B/A VERIZON §
 WIRELESS                         §
                                  §

                                             ORDER

        Pending before the Court are several issues from the July 21, 2021 pretrial conference.

 Defendant’s MIL #18: Arguments/evidence/testimony on Unaccused Products and Systems

        Granted. Mobility may not argue that unaccused products and systems infringe. This

includes arguing indirect infringement, which the Court separately forbade in Defendant’s MIL

#15 (Dkt. #241). Mobility may discuss unaccused products purely for providing relevant context

to the accused products.

   Defendant’s MIL #20: Evidence and Arguments on Witness Tampering in Prior Cases

        Granted. In an unrelated case, Verizon’s attorney, Mr. Newton, represented a client who

was sanctioned for witness tampering. Taurus IP, LLC v. DaimlerChrysler Corp., 559 F. Supp.

2d 947, 970 – 975 (W.D. Wis. 2008). Mr. Newton was not sanctioned. See id.

        Mobility intends to discuss the Taurus witness tampering as relevant to the Georgia-Pacific

factors (See Dkt. #215). Specifically, Mobility argues it needs to contextualize the underlying

facts of Taurus because Verizon relies on the Taurus T-Mobile License as comparable (Dkt. #215

at p. 1).

        The Court has addressed this topic previously. The Court ruled that Mobility is entitled to

call Mr. Newton as a witness to testify to the T-Mobile License (Dkt. #174 at p. 5). Mobility
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“should be permitted to provide what it contends is relevant context in defense—namely, evidence

of why ‘Mobility’s state of mind’ during the negotiation process” (Dkt. #174 at p. 5).

        Accordingly, Mobility may discuss the underlying facts of the Taurus license as it relates

to Mobility’s state of mind. This includes arguing that there was a potential conflict of interest

between the two sides. But Mobility may not suggest or imply that Mr. Newton engaged in witness

tampering. He did not. See Taurus, 559 F. Supp. 2d 947. Mobility is entitled to tell its story

within reasonable limits.

                            Plaintiff’s Motion on Willfulness (Dkt. #182)
        Denied. The issue of willfulness should not go to the jury because Mobility raised the

issue too late. Mobility did not allege willfulness in its complaint (See Dkt. #1). Mobility argues

it invoked willfulness by pleading 35 U.S.C. § 285 in its complaint, but § 285 is the “exceptional

case” statute that allows a prevailing party to recover attorney’s fees. Mobility did not plead 35

U.S.C. § 284, the statute governing willfulness. These are different issues covered by different

statutes. Failure to plead willfulness is a bar to enhanced damages. Revolution Eyewear, Inc. v.

Aspex Eyewear, Inc., 563 F.3d 1358, 1373 (Fed. Cir. 2009) (explaining that where plaintiff failed

to plead a claim for willful infringement, “it was barred from seeking enhanced damages based on

willful infringement, and no fact finder ever addressed the question of willfulness.”). Mobility

never filed an amended complaint to correct this error.

        Willfulness only appeared in the Joint Final Pretrial Order. Verizon has no opportunity to

challenge willfulness when it is introduced for the first time on the eve of trial. Although Verizon

should have objected in the Joint Final Pretrial Order, it objected at the November 19, 2019 pretrial

conference. It would be unjust to permit Mobility to argue willfulness when it has not been plead

or litigated.



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      IT IS SO ORDERED.
      SIGNED this 23rd day of July, 2021.




                                 ___________________________________
                                 AMOS L. MAZZANT
                                 UNITED STATES DISTRICT JUDGE




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